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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Javier Gonzalez−Loza
                                       Plaintiff,
v.                                                      Case No.: 1:19−cv−03046
                                                        Honorable Matthew F. Kennelly
United States of America, et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, August 24, 2021:


        MINUTE entry before the Honorable Matthew F. Kennelly: Two of the
recently−added US Marshals Service defendants have moved to dismiss plaintiff's fourth
amended complaint for failure to state a claim. They contend: (1) the claim against them is
barred by the statute of limitations; (2) no Bivens remedy is available for the wrong
alleged by plaintiff; (3) plaintiff has failed to allege a viable constitutional claim; and (4)
they are entitled to qualified immunity. The limitations argument lacks merit on a Rule
12(b)(6) motion, and the Court therefore overrules it for purposes of the present motion. It
is appropriate to grant a motion to dismiss on the basis of an affirmative defense like the
statute of limitations−−on which the defendant bears the burden of persuasion−−"[o]nly
when the plaintiff pleads [himself] out of court−−that is, admits all the ingredients of an
impenetrable defense." Xechem, Inc. v. Bristol−Myers Squibb Co., 372 F.3d 899, 901 (7th
Cir. 2004). That is most certainly not the case here, as plaintiff has a viable argument for
tolling the statute of limitations due to his initial pro se status; the fact that he does not
speak English; the fact that he is a prisoner who could not plausibly conduct discovery
under the circumstances; and the likelihood that he could not identify the proper
defendants without obtaining legal and language assistance as well as some discovery.
The qualified immunity defense almost certainly lacks merit as a basis for Rule 12(b)(6)
dismissal, as it appears to be largely a fact−bound argument, thus requiring further factual
development. But because that defense potentially has a law−based component here, the
Court will not overrule the argument outright but instead will require briefing. Plaintiff is
directed to file a written response to defendants' arguments (2), (3), and (4) identified
above, by 9/21/2021; defendants are directed to file a reply by 10/5/2021. (mk)




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